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 8                               UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

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11                                                    No. 2:24-cv-01655-JAM-CSK
      IN RE: STEVEN WAYNE BONILLA
12                                                    No. 2:24-cv-01656-JAM-CSK

13                                                    No. 2:24-cv-01657-JAM-CSK

14                                                    No. 2:24-cv-01658-JAM-CSK

15                                                    No. 2:24-cv-01692-JAM-CSK

16                                                    No. 2:24-cv-01693-JAM-CSK

17                                                    No. 2:24-cv-01694-JAM-CSK

18                                                    No. 2:24-cv-01695-JAM-CSK

19                                                    No. 2:24-cv-01696-JAM-CSK

20                                                    No. 2:24-cv-01698-JAM-CSK

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24                                                    ORDER

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27          Plaintiff Steven Wayne Bonilla is a state prisoner proceeding without counsel in the

28   above-captioned civil actions. On November 29, 2018, the Court declared Plaintiff a vexatious
                                                      1
     Case 2:24-cv-01655-JAM-CSK Document 2 Filed 06/21/24 Page 2 of 2


 1   litigant and ordered the Clerk of the Court not to file or assign a civil case number to any

 2   proposed habeas corpus petition or civil action related to Plaintiff’s criminal conviction in

 3   Alameda County. (See Bonilla v. Fresno County, Case No. 2: 18-cv-2544-TLN-KJN, ECF No.

 4   13). On June 14, 2023, the Court modified its vexatious litigant Order and directed the Clerk of

 5   the Court to open a new case for each attempted new pleading and assign it to the Court for

 6   review. (Id. at ECF No. 26.) If the Court determines the new filing is related to Plaintiff’s

 7   Alameda County criminal conviction, the case will be ordered dismissed and closed. (Id.)

 8             The Court has reviewed the complaints/petitions filed in the above-captioned cases and

 9   finds they are related to Plaintiff’s Alameda County criminal conviction. 1

10             Accordingly, IT IS HEREBY ORDERED that 2:24-cv-01655, 2:24-cv-01656, 2:24-cv-

11   01657, 2:24-cv-01658, 2:24-cv-01692, 2:24-cv-01693, 2:24-cv-01694, 2:24-cv-01695, 2:24-cv-

12   1696 and 2:24-cv-01698 are DISMISSED; the Clerk of the Court is DIRECTED to close

13   these cases. No further filings will be accepted.

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         Dated: June 20, 2024                         /s/ John A. Mendez
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                                                      THE HONORABLE JOHN A. MENDEZ
16                                                    SENIOR UNITED STATES DISTRICT JUDGE
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       In the caption of 2:24-cv-01656 plaintiff names the Fifth Appellate District Court. In the
25   captions of 2:24-cv-01692, 2:24-cv-01693, 2:24-cv-01694 and 2:24-cv-01698, plaintiff names the
26   San Joaquin County Superior Court. In the caption of 2:24-cv-01696, plaintiff names the
     “Superior Court of California.” To the extent plaintiff intended to raise the claims raised in these
27   cases in the United States District Court for the Eastern District of California, this Court finds that
     the claims raised in 2:24-cv-01656, 2:24-cv-01692, 2:24-cv-01693, 2:24-cv-01694, 2:24-cv-
28   01696 and 2:24-cv-01698 and are related to Plaintiff’s Alameda County criminal conviction.
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